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 4
 5                            UNITED STATES DISTRICT COURT
 6                         EASTERN DISTRICT OF WASHINGTON
 7
     UNITED STATES OF AMERICA,                   )
 8                                               )     NOS,     CR-11-0182-WFN-1
                                Plaintiff,       )              CR-11-0182-WFN-2
 9                                               )
            -vs-                                 )     ORDER
10                                               )
     RYAN QUINN DOHERTY,                         )
11   JOSEPH AVILA,                               )
                                                 )
12                              Defendants.      )
                                                 )
13
14         A pretrial conference and motion hearing was held June 14, 2012. The Defendants,
15 who are in custody, were present. Mr. Doherty was represented by Julian Trejo; Mr. Avila
16 was represented by Terrence Ryan; Assistant United States Attorney Aine Ahmed
17 represented the Government. At the hearing the Court addressed the impact of the
18 Superseding Indictment and the parties informed the Court about the status of discovery. The
19 Court denied Defendant Doherty’s Motion to Dismiss. The Government estimates that the
20 trial will last approximately 2.5 days.
21         The Court has reviewed the file and is fully informed. This Order is entered to
22 memorialize and supplement the oral rulings of the Court. Accordingly,
23         IT IS ORDERED that:
24         1. Defendant Doherty's Motion to Dismiss Indictment. . ., filed May 29, 2012, ECF
25 No. 62, is DENIED
26         2. Defendants oral motion for a trial continuance is GRANTED.


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 1             The Court finds that the ends of justice served by the granting of a continuance of
 2 the trial in this matter outweigh the best interests of the public and the Defendant in a speedy
 3 trial. A trial date of June 25, 2012 would unreasonably deny adequate time to address the
 4 superseding indictment and provide effective assistance of counsel, taking into account the
 5 exercise of due diligence. 18 U.S.C. § 3161(h)(7).
 6         3. The trial date of June 25, 2012, is STRICKEN and RESET to July 16, 2012, at
 7 1:00 p.m., in Spokane, Washington.
 8         4. All time from the trial date of June 25, 2012, to the new trial date of July 16, 2012,
 9 is EXCLUDED for speedy trial calculations pursuant to 18 U.S.C. § 3161(h)(7). A waiver
10 of speedy trial rights was signed by each of the Defendants.
11         5. The June 25, 2012 final pretrial conference and motion hearing is STRICKEN
12 and RESET to July 16, 2012, at 11:00 a.m., in Spokane, Washington.
13         6. Trial briefs, motions in limine, requested voir dire and a set of proposed JOINT
14 JURY INSTRUCTIONS shall be filed and served on or before July 2, 2012.
15             Jury instructions should only address issues that are unique to this case, and shall
16 include instructions regarding the elements of each claim, any necessary definitions and a
17 proposed verdict form.
18             The Joint Proposed Jury Instructions shall include:
19             (a) The instructions on which the parties agree; and
20             (b) Copies of instructions that are disputed (i.e., a copy of each party's proposed
21 version of an instruction upon which they do not agree). All jury instructions from the most
22 current edition of the Ninth Circuit Manual of Model Jury Instructions may be proposed by
23 number. The submission of the Joint Proposed Jury Instructions will satisfy the requirements
24 of LR 51.1(c).
25             Each party shall address any objections they have to instructions proposed by any
26 other party in a memorandum. The parties shall identify the specific portion of any proposed


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 1 instruction to which they object and shall elaborate the basis for the objection. Objections
 2 asserting that an instruction sets forth an incorrect statement of law shall describe the legal
 3 authority that supports this objection. Failure to file an objection and supporting argument
 4 may be construed as consent to the adoption of an instruction proposed by another party.
 5          7. The parties are requested to submit courtesy copies of witness and exhibit lists to
 6 the Court no later than 12:00 noon the Thursday before trial.
 7          8. An additional pretrial conference and motion hearing shall be held June 28, 2012,
 8 at 11:30 a.m., p.m., in Spokane, Washington.
 9          9. A change of plea hearing for Defendant AVILA (2) shall be held June 28, 2012,
10 at 11:00 a.m., in Spokane, Washington.
11          10. All time from the Court's receipt of a proposed plea agreement to be entered into
12 by the Defendant and the attorney for the Government until the change of plea or formal
13 notice that the Defendant will not enter a change of plea, will be EXCLUDED for speedy
14 trial purposes pursuant to 18 U.S.C. § 3161(h)(1)(G).
15          11. The Government is reminded that the Speedy Trial clock will not be tolled until
16 a draft of the plea agreement has been submitted to the Court.
17          The District Court Executive is directed to file this Order and provide copies to
18 counsel.
19          DATED this 18th day of June, 2012.
20
21                                                     s/ Wm. Fremming Nielsen
                                                          WM. FREMMING NIELSEN
22   06-14-12                                     SENIOR UNITED STATES DISTRICT JUDGE
23
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